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15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
21                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
22
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
23

24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
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